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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

vs.

WILLIAM MCGLASHAN, JR.,                            Criminal No. 19-CR-10080-NMG

Defendant.




        WILLIAM MCGLASHAN, JR.’S RENEWED UNOPPOSED MOTION
      FOR EARLY TERMINATION OF HIS PERIOD OF SUPERVISED RELEASE

       Defendant William McGlashan, Jr. (“McGlashan” or “Defendant”) hereby submits this

renewed unopposed motion for termination of his period of supervised release, pursuant to 18

U.S.C. § 3583(e) (the “Motion”). This is a renewed motion filed in accordance with the Court’s

September 19, 2022 Order denying McGlashan’s motion for early termination of supervised

release without prejudice to re-file in February 2023. See Dkt. 2644. As set forth below, early

termination of McGlashan’s supervised release period is fully in accord with § 3583(e)(1) and

applicable legal principles. The probation office has informed McGlashan that it does not

oppose termination. The government takes no position. As further grounds for this motion,

McGlashan states as follows:

       1. On May 12, 2021, after having pled guilty to one count of wire fraud, the Court

sentenced McGlashan to three months imprisonment to be followed by 2 years supervised

release, which included as special conditions 250 hours of community service at an agency

approved by the probation office and certain financial reporting obligations. See Dkt. Nos.

1843, 1857. The Court also required McGlashan to pay a fine of $250,000 and a $100 special

assessment within 60 days of the sentencing. Id. McGlashan paid both the fine and special
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assessment in advance of the time period set by the Court. At the time of his sentencing,

McGlashan had been on pretrial supervision for approximately 25 months and had been fully

compliant.

       2. The Court set a self-report date of June 9, 2021 for McGlashan to report to his

assigned Bureau of Prisons (“BOP”) facility. See Dkt. 1857. McGlashan actually reported to

his assigned facility on June 1, 2021, eight days earlier than ordered. BOP released

McGlashan from custody on August 31, 2021 after serving the majority of his time in

isolation due to COVID protocols.

       3. In accordance with the Court’s sentence, McGlashan’s supervised release period

began on August 31, 2021 and, although the District of Massachusetts probation office retained

jurisdiction over McGlashan’s supervised release period, his day-to-day supervision was

overseen by the Northern District of California as a “courtesy supervision.” This was due to the

fact that McGlashan lives in the Northern District of California. McGlashan completed one year

of supervised release on August 31, 2022.

       4. On September 14, 2022, McGlashan moved for early termination of his supervised

release term. See Dkt. 2642. On September 19, the Court denied McGlashan’s request “without

prejudice to being re-filed in February, 2023.” See Dkt. 2644. Consistent with the Court’s

order, McGlashan is now re-filing his request.

       5. As was the case in September 2022, McGlashan has continued to be fully compliant

with all of the terms of his supervised release. During the term of supervision McGlashan has

had no issues of non-compliance and has been moved to a low-risk caseload due to his risk

factors and compliance.

       6. While on supervised release, McGlashan has co-founded a company focused on

regenerative agriculture and natural climate solutions. See Dkt. 2642, Attachment 2. The
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company’s business is global, with customers and research on all five continents.

        7. In addition, McGlashan completed his 250 hours of community service with Prison

Professors, a non-profit assisting incarcerated individuals successfully reintegrate back into

society. See Dkt. 2642, Attachment 1. McGlashan not only completed his 250 court-ordered

hours assisting this organization, but he has continued to spend a considerable amount of time

working with and assisting this non-profit. To date, McGlashan has devoted over 1000 hours

helping Prison Professors, a number that will continue to increase given his ongoing

involvement. Id.

        8. Although the Court has authorized McGlashan to travel domestically and

internationally for business purposes with prior notice to the probation department, see, e.g.,

Dkt. 2650, McGlashan is unable to travel to Prison Professors programs in prisons because he

is still on supervised release. See January 24, 2023 Letter from Michael Santos (attached as

Exhibit 1). Termination of his supervised release now will permit McGlashan to participate

fully in his ongoing work with Prison Professors.

        9. Early termination of supervision is both authorized by statute and encouraged under

current court policy. The relevant statute provides that the Court may “terminate a term of

supervised release and discharge the defendant released at any time after the expiration of one

year of supervised release . . . if it is satisfied that such action is warranted by the conduct of the

defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1) (permitting termination

upon consideration of the factors set forth in 18 U.S.C. § 3553 (a)(1), (a)(2)(B), (a)(2)(C),

(a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7) and a finding that the interest of justice warrants early

termination). Current court policy has encouraged early termination of supervised release,

particularly for non-violent offenders with little risk of re-offending. See, e.g., Hon. Robert

Holmes Bell, Chair, JUDICIAL CONFERENCE COMMITTEE ON CRIMINAL LAW,
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MEMORANDUM RE: COST-CONTAINMENT STRATEGIES RELATED TO PROBATION

AND PRETRIAL SERVICES OFFICES (February 16, 2012) (encouraging courts to grant early

termination of supervised release in appropriate cases as an effort to reduce expenditures in the

probation and pretrial services programs); see also USSG 5D1.2, Application Note 5

(encouraging courts to terminate supervised release periods early).

       10. Consistent with the current policy encouraging early termination of supervised

release, the Judicial Conference has identified the following criteria to assess eligibility for

early termination of supervised release: (1) stable community reintegration (e.g., residence,

family, employment); (2) progressive strides toward supervision objectives and in compliance

with all conditions of supervision; (3) no aggravated role in the offense of conviction; (4) no

history of violence; (5) no recent arrests or convictions or ongoing, uninterrupted patterns of

criminal conduct; (6) no recent evidence of alcohol or drug abuse; (7) no recent psychiatric

episodes; (8) no identifiable risk to the safety of any identifiable victim; and (9) no identifiable

risk to public safety based on the Risk Prediction Index (RPI). See Guide to Judiciary Policy,

Vol. 8E, Ch. 3 § 380.10(b), "Early Termination" (Monograph 109) (rev'd 2010) (the “Policy”).

Moreover, the Judicial Conference has encouraged probation officers to consider early

termination of supervision as soon as the individual is eligible. Id.

       11. Each and every one of these considerations weighs in favor of early termination of

McGlashan’s supervised release period. McGlashan has been on supervised release for eighteen

months, and so is eligible for early termination. As to factor (1), McGlashan is well-settled and

has deep family roots where he lives in the San Francisco area. As to factor (2), he not only has

complied with, and completed, all of his obligations during the period of supervisions, but he has

actually substantially exceeded the community service obligations by continuing to be an active

supporter and volunteer in the Prison Professors organization. He also has fully complied with
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his financial obligations, making all required fine and special assessment payments well in

advance of the 60-day period the Court ordered.

       12. As to factors (3), (4) and (5), McGlashan’s offense was a lone lapse in an otherwise

exemplary life and career. This was his first and only involvement with the criminal justice

system. Although reserving the right to appeal legal issues related to his charge, he fully

accepted responsibility for his conduct, serving his sentence even before his appeal has been

decided. McGlashan’s offense of conviction was a non-violent offense and he otherwise has

neither any history of violence nor any pattern of criminal conduct.

       13. As to the remaining considerations -- (6), (7), (8) and (9) -- McGlashan has no

history of drug or alcohol abuse; he has no psychiatric issues; he poses no safety risk to anyone;

and he otherwise poses no identifiable risk to public safety.

       14. McGlashan has communicated with his probation officer regarding this motion and

understands that the probation department does not oppose early termination of his supervised

release. Undersigned counsel conferred with the government regarding this motion and the

government takes no position on the motion.

       WHEREFORE, McGlashan respectfully requests that the Court terminate his period of

supervised release.

                                                      Respectfully submitted,

                                                      /s/Jack W. Pirozzolo
                                                      Jack W. Pirozzolo (BBO # 564879)
                                                      jpirozzolo@sidley.com
                                                      SIDLEY AUSTIN LLP
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                                                      (617) 223-0304
Dated: February 13, 2023
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               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       I hereby certify that in accordance with Local Rule 7.1, I conferred with government

counsel on February 10, 2023 regarding the foregoing motion and government counsel stated

that he does not take a position on the motion.

                                                   /s/Jack W. Pirozzolo
                                                   Jack W. Pirozzolo
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of February, 2023, a true and complete copy of the
foregoing has been filed with the Clerk of the Court pursuant to the Court’s electronic filing
procedures, and served on counsel of record via the Court’s electronic filing system.

Dated: February 13, 2023                     /s/Jack W. Pirozzolo
                                             Jack W. Pirozzolo
